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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF TEXAS, BEAUMONT DIVISION

COALITION FOR WORKFORCE                  §
INNOVATION; ASSOCIATED                   §
BUILDERS AND CONTRACTORS OF              §
SOUTHEAST TEXAS; ASSOCIATED              §
BUILDERS AND CONTRACTORS,                §
INC.; FINANCIAL SERVICES                 §
                                              CASE NO. 21-CV-00130-MAC
INSTITUTE, INC.; NATIONAL                §
FEDERATION OF INDEPENDENT                §
BUSINESS; CHAMBER OF                     §
COMMERCE OF THE UNITED                   §
STATES OF AMERICA; NATIONAL              §
RETAIL FEDERATION; AND                   §
AMERICAN TRUCKING                        §
ASSOCIATIONS,                            §
                                         §
        Plaintiffs,                      §
                                         §
        vs.                              §
                                         §
JULIE SU, ACTING SECRETARY,
                                         §
UNITED STATES DEPARTMENT OF
                                         §
LABOR, in her official capacity; JESSICA
                                         §
LOOMAN, ADMINISTRATOR, WAGE
                                         §
AND HOUR DIVISION, U.S.
                                         §
DEPARTMENT OF LABOR, in her
                                         §
official capacity; and UNITED STATES
                                         §
DEPARTMENT OF LABOR,
                                         §
                                         §
        Defendants.



                 PLAINTIFFS’ SECOND AMENDED COMPLAINT

      Plaintiffs COALITION FOR WORKFORCE INNOVATION (“CWI”), ASSOCIATED

BUILDERS AND CONTRACTORS OF SOUTHEAST TEXAS (“ABCSETX”), ASSOCIATED

BUILDERS AND CONTRACTORS, INC. (“ABC”), FINANCIAL SERVICES INSTITUTE,

INC. (“FSI”), NATIONAL FEDERATION OF INDEPENDENT BUSINESS (“NFIB”),
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CHAMBER OF COMMERCE OF THE UNITED STATES OF AMERICA (“U.S. CHAMBER”

or the “CHAMBER”), NATIONAL RETAIL FEDERATION (“NRF”), and AMERICAN

TRUCKING ASSOCIATIONS (“ATA”), (collectively “Plaintiffs”), by and through their

undersigned counsel, for their Complaint against the Defendants, herein state as follows:

                                PRELIMINARY STATEMENT

       1.      Less than two years ago, this Court vacated the attempt by the Department of Labor

(“Department” or “DOL”) to delay and withdraw its rules on independent contractors under the

Fair Labor Standards Act (“FLSA”) (the “2021 Independent Contractor Rule” or “2021 Rule”) due

to violations of the Administrative Procedure Act (“APA”). Coalition for Workforce Innovation v.

Walsh, 2022 U.S. Dist. LEXIS 68401 (E.D. Tex. 2022), vacated as moot, 22-40316 (5th Cir. Feb.

21, 2024). Among other things, this Court found the Department’s purported withdrawal of the

2021 Rule to be arbitrary and capricious because it “left regulated parties without consistent

guidance regarding the proper classification of workers under the Fair Labor Standards Act

(“FLSA”).” Id. at *48. In response to that decision, the Department has now issued a new rule on

independent contractors (the “2024 Independent Contractor Rule” or “2024 Rule”), which rescinds

the 2021 Independent Contractor Rule again and replaces it with a rule that replicates the fatal

flaws of its previously invalidated rulemaking. Like its predecessor, the 2024 Rule fails to address

(and will only add to) the confusion over the proper classification of independent contractors, and

will irreparably harm not just companies employing independent contractors nationwide, but the

workers themselves. The 2024 Rule should likewise be enjoined.

       2.      In vacating the Department’s first attempts to delay and then withdraw the 2021

Rule, this Court found that the Department “failed to consider important aspects of the problem

before it—the lack of clarity of the economic realities test and the need for regulatory certainty.”




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Id. at *46 (citing Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891,

1913 (2020)). The Court also agreed with Plaintiffs that the Department violated the APA because

it arbitrarily and capriciously departed from the 2021 Rule without considering potential

alternatives within the ambit of the existing policy. See id. at *44-45.

       3.      Rather than contest this Court’s order on its merits, the Department has issued a

new rule that largely repeats the Department’s previous errors and fails to remedy the confusion

addressed by the 2021 Independent Contractor Rule. The 2024 Rule repeals the 2021 Independent

Contractor Rule currently in effect and substitutes an amorphous, vague, and unworkable standard

for determining employee or independent contractor status under the FLSA. The 2024 Rule

mischaracterizes and ignores substantial data in the record; dismisses without justification the

Department’s previous findings; mischaracterizes the 2021 Rule’s content and purpose; reverses

course without adequate explanation; misinterprets long-standing FLSA precedent; fails to

sufficiently consider reasonable alternatives; and suffers from numerous additional defects under

the APA, FLSA, and Regulatory Flexibility Act (“RFA”).

       4.      The flaws in the new rule include, but are not limited to, the same APA errors this

Court previously identified. Among other deficiencies, DOL has acted arbitrarily and capriciously

by once again attempting to withdraw (and now replace) its prior, comprehensive regulations

without adequate justification. The Department has failed to consider important aspects of the

problems it purports to address, has relied on factors that it should not have considered, and has

failed to meaningfully consider reasonable alternatives. It has acted contrary to law in endorsing

a worker classification test sharply at odds with binding Supreme Court precedent interpreting the

FLSA. In addition, as the Small Business Administration’s Office of Advocacy found, the

Department’s cost-benefit analysis is grossly inadequate, in violation of both the APA and the




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RFA. The Department does not even attempt to account for the massive costs the 2024 Rule will

impose after a single year and ignores the loss of hundreds of millions of dollars in benefits that it

found would have resulted from the 2021 Rule that it now would repeal.

       5.      This Court should vacate the Department’s withdrawal of the 2021 Independent

Contractor Rule, as it did previously, vacate the Department’s promulgation of the 2024

Independent Contractor Rule, and enjoin the Department from enforcing the 2024 Rule.

                                             PARTIES

       6.      Plaintiff CWI is a coalition that supports choice, flexibility, and opportunity in the

modern workforce. CWI represents a diverse array of stakeholders, including those who represent

and advocate on behalf of workers, small businesses, start-ups, entrepreneurs, and technology

companies. CWI also represents and advocates on behalf of traditional businesses and associations

in industries such as media, transportation, distribution, retail, and service. CWI supports

modernized guidance on how to define the scope of the independent contractor relationship as

CWI advocates on behalf of students, parents, entrepreneurs, retirees, and other independent

workers who prioritize the flexibility and freedom of non-traditional work arrangements. CWI also

supports work opportunities for groups such as immigrants, caregivers, veterans, first time small

business owners and entrepreneurs, and individuals with criminal backgrounds, who may struggle

to find employment in the traditional job market. Additionally, CWI enters into contractual

relationships with independent contractors in furtherance of its own operations.

       7.      CWI supported the 2021 Independent Contractor Rule because it provides clarity

for both workers and businesses. The withdrawal of the 2021 Rule and replacement by the 2024

Rule threatens CWI, its members, and their constituents with irreparable harm. Accordingly, CWI




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strongly opposed the 2024 Rule and has a substantial interest in the 2021 Independent Contractor

Rule remaining in effect.

       8.       Plaintiff ABCSETX is a non-profit trade association of two hundred construction

industry contractors and related firms operating in Southeast Texas and around the country.

Headquartered     in   this   judicial   district       at   2700   N.   Twin   City   Highway   in

Nederland, Texas, ABCSETX is a separately incorporated affiliate of the national construction

industry trade association plaintiff ABC.

       9.       Plaintiff ABC represents more than 21,000 member contractors and related firms

both in Texas and throughout the country, who share the philosophy that work in their industry

should be awarded and performed based on merit, without regard to labor affiliation. ABC and its

sixty-nine chapters, including ABCSETX, help members develop people, win work and deliver

that work safely, ethically and profitably for the betterment of the communities in which they

work. ABC’s membership represents all specialties within the U.S. construction industry and is

comprised primarily of firms that perform work in the industrial and commercial sectors.

       10.      Independent contractors are essential to many of the businesses whom ABCSETX

and ABC represent, providing specialized skills to many such businesses. Moreover, by utilizing

independent contractors, the businesses ABCSETX and ABC represent can allow for

entrepreneurial opportunities and maintain stability during fluctuations of work common to

construction. Conflicting court rulings have confused and frustrated efforts of the businesses who

ABCSETX and ABC represent to perform services on a cost-efficient basis. Both ABCSETX and

ABC likewise utilize the services of independent contractors in conducting their own businesses

and operations. ABCSETX and ABC supported the 2021 Independent Contractor Rule’s effort to

clarify the independent contractor standard and facilitate a consistent application among courts.




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ABCSETX, ABC, and their member businesses will be significantly, and in some instances

irreparably, harmed if the 2021 Rule is arbitrarily withdrawn and replaced by the 2024 Rule.

       11.        Plaintiff Financial Services Institute, Inc. (“FSI”) is a trade association advocating

on behalf of the independent financial services industry. More than 30,000 independent financial

advisors and more than 80 independent financial services firms are members of FSI. Since 2004,

through advocacy, education, and public awareness, FSI has been working to create a healthier

regulatory environment for these members so they can provide affordable, objective financial

advice to hard-working Americans. FSI’s mission is to ensure that all Americans have access to

competent and affordable financial advice, products, and services, delivered by a growing network

of independent financial advisors, who serve as independent contractors to independent financial

services firms.

       12.        FSI members are firms and individuals who base their business model on a system

under which self-employed, independent financial advisors affiliate with independent financial

services firms. These financial advisors are licensed professionals who typically establish their

own business without any prior coordination with a firm; they affiliate with a firm to take

advantage of economies of scale, ensure regulatory compliance, and obtain access to business

services like platforms and products, all of which helps them tailor their professional services and

advice to the needs of their clients—ordinary Americans across all income levels.

       13.        As a result of this unique business model, FSI member firms and their affiliated

financial advisors are well positioned to provide Main Street Americans with the affordable

financial advice, products, and services necessary to achieve their investment goals, including

saving for common financial needs such as college tuition, homeownership, retirement, and

support for aging parents.




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       14.     FSI’s members are significantly harmed by the 2024 Rule’s withdrawal and

replacement of the 2021 Rule. Financial advisors’ status as independent contractors gives them the

flexibility to manage their own businesses, set their own hours, offer their preferred products and

services, and enjoy a healthy work-life balance. The 2024 Rule threatens this model and will

damage FSI members’ businesses, decrease their value, and cause irreparable harm by generating

regulatory uncertainty and the risk that financial advisors mistakenly will be misclassified as

employees, based, for example, on their common practice of obtaining assistance with regulatory

compliance from the firms with which they affiliate. The 2024 Rule will divert resources from the

core business competency of helping clients with financial planning and investing to, instead,

defending against baseless claims by government agencies that independent financial advisors are

actually employees. For these reasons, FSI supported the 2021 Rule’s effort to clarify the

independent contractor standard and facilitate a consistent application among courts, and opposed

the Department’s adoption of the 2024 Rule.

       15.     Plaintiff NFIB, a California nonprofit mutual benefit corporation, is the nation’s

leading small business association. NFIB’s mission is to promote and protect the right of its

members to own, operate, and grow their businesses. NFIB represents the interests of its members

to all fifty state governments and the federal government. NFIB’s members include small

businesses that rely on independent contractors for their continued operation and success. NFIB

itself relies on independent contractors for its continued operation and success. NFIB challenges

in this case the lawfulness of the 2024 Rule, which poses a substantial risk that the Department

will classify as employees some of the independent contractors upon whom NFIB relies or its

members rely, which would increase the cost to NFIB and its members, respectively, of using their

services.




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       16.     Plaintiff U.S. CHAMBER is the world’s largest business federation. The U.S.

Chamber represents approximately 300,000 direct members and indirectly represents the interests

of more than three million companies and professional organizations of every size, in every

industry sector, and from every region of the country, including the Eastern District of Texas.

Among other things, the Chamber routinely represents the interests of its member-employers in

employment and labor-relations matters—including matters arising under the FLSA—as part of

its overall mission to advocate for policies designed to help businesses create jobs and grow the

national economy. In advancing its mission, the Chamber seeks to preserve the ability of its

members to choose how to structure their economic relationships without incurring unanticipated

liability under the FLSA. Moreover, the Chamber itself is harmed by such a standard, as it also

engages the services of independent contractors in the conduct of its business and representation

of its members.

       17.     Plaintiff NRF, established in 1911, is the world’s largest retail trade association and

the voice of retail worldwide. Retail is the largest private-sector employer in the United States.

The NRF’s membership includes retailers of all sizes, formats, and channels of distribution,

spanning all industries that sell goods and services to consumers. The NRF provides courts with

the perspective of the retail industry on important legal issues impacting its members. To ensure

that the retail community’s position is heard, the NRF often files amicus curiae briefs expressing

the views of the retail industry on a variety of topics, including wage and hour issues.

       18.     Plaintiff ATA is the voice of the trucking industry that America depends on most

to move the nation’s freight. A federation with state trucking association affiliates in all 50 states,

ATA has been representing the industry for over 90 years. ATA represents every industry sector,

from less than truckload to truckload, agriculture and livestock, to auto haulers, and from large




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motor carriers to small mom-and-pop operations. As the nation’s largest trade association

representing the trucking industry, ATA is vitally interested in safely expanding the number of

professional drivers to meet the demand for freight transportation in the nation’s economy, given

that the shortage of qualified drivers is at a near-record high of 78,000 in 2022. Truck drivers today

are in the literal and figurative driver’s seat regarding their jobs and compensation. The labor

market for them is tight, resulting in opportunities to move around the industry and obtain sign-on

bonuses and increased pay. Given these realities, workforce issues are critical for ATA and its

members, and independent contractors are a vital part of that workforce. ATA members will be

irreparably harmed if the 2021 Independent Contractor Rule is withdrawn and replaced by the

2024 Rule.

       19.     Defendant Julie Su is functioning as the Acting Secretary of the Department of

Labor, although she has not been confirmed by the Senate to that position.

       20.     Defendant Jessica Looman is the Administrator of the Wage and Hour Division of

the U.S. Department of Labor, which promulgated the challenged rule.

       21.     Acting Secretary Su and Administrator Looman are sued in their official capacities

and the relief sought extends to all of their successors, employees, officers, and agents.

       22.     Defendant U.S. Department of Labor is an agency of the United States and

published the 2024 Rule in the Federal Register.




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                            JURISDICTION, VENUE AND STANDING

         23.      This action arises under the APA, 5 U.S.C. § 701 et seq., the FLSA, 29 U.S.C. §

 201 et seq., and the RFA, 5 U.S.C. § 601 et seq. This Court has jurisdiction over these federal

 claims under 28 U.S.C. § 1331 (federal question).

         24.      This Court has the authority to grant the requested declaratory and injunctive relief

 under the APA, 5 U.S.C. §§ 701-706 (APA), and the Declaratory Judgment Act, 28 U.S.C.

 §§ 2201-2202.

         25.      Venue is properly vested in this Court pursuant to 28 U.S.C. § 1391(e) because one

 or more of the Plaintiffs are based within the judicial district of this Court.

         26.      Plaintiffs have associational standing to bring this lawsuit on behalf of their various

 members. Plaintiffs’ members have standing to sue in their own right because they participate in

 contractual arrangements that are more likely to expose them to liability and to increased costs

 under the Rule, including substantial costs as they modify their businesses to comply and to

 account for those risks. Plaintiffs and their members are effectively the object of regulation under

 the Rule, and as such, will be directly injured by its heightened burdens and new regulatory

 requirements. See, e.g., Contender Farms, L.L.P. v. U.S. Dep’t of Agric., 779 F.3d 258, 264 (5th

 Cir. 2015) (“If a plaintiff is an object of a regulation there is ordinarily little question that the action

 or inaction has caused him injury, and that a judgment preventing or requiring the action will

 redress it.”).

         27.      The Rule also conflicts with each Plaintiff’s policy objectives, and challenging the

 Rule is germane to each Plaintiff’s purpose. All of the foregoing national associations participated

 in the notice and comment process that resulted in the final 2024 Rule, filing comment letters on

 or before December 13, 2022 in the administrative docket (RIN 1235-AA43) and requesting that




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 the Department withdraw the proposed rule and leave in place the Department’s 2021 Independent

 Contractor Rule.

         28.     Neither the claims asserted nor the relief requested requires Plaintiffs’ individual

 members to participate, as this complaint raises questions of law based on the Administrative

 Record. See Hunt v. Washington State Apple Advertising Commission, 432 U.S. 333, 343 (1977).

         29.     Plaintiffs also have organizational standing to bring this suit, as many of them use

 the skills of independent contractors and thus are directly and adversely impacted by the

 Department’s 2024 Rule.

         30.     Plaintiffs are also eligible to bring suit under the judicial-review provisions of the

 Regulatory Flexibility Act, 5 U.S.C. § 611, because many of their members have annual receipts

 that are sufficiently low to qualify them as a “small business” entitled to judicial review of an

 agency’s compliance with section 604 of the RFA. See 5 U.S.C. § 611 (establishing that small

 businesses are entitled to judicial review of the RFA § 604 requirement that an agency publish

 final regulatory flexibility analysis).

                                    FACTUAL BACKGROUND

         A.      The 2021 Independent Contractor Rule Under the Fair Labor Standards Act

         31.     The FLSA provides that certain employees are entitled to a minimum wage and

 overtime pay. Employers who violate the FLSA’s minimum wage and overtime requirements are

 subject to civil liability and, in some cases, even criminal penalties. 29 U.S.C. §§ 201-219.

         32.     By contrast, independent contractors are not covered by the wage and hour

 provisions of the FLSA.

         33.     On September 25, 2020, the Department published a Notice of Proposed

 Rulemaking (“NPRM”) through which it proposed to amend and clarify the standards by which

 the Department will deem workers to be either statutory “employees” or independent contractors


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 under the FLSA. See generally 85 Fed. Reg. 60600.

        34.     On January 7, 2021, the Department issued the final 2021 Independent Contractor

 Rule, 86 Fed. Reg. 1168, which was to take effect on March 8, 2021.

        35.     The preamble to the 2021 Rule thoroughly analyzed the confusion around the

 FLSA’s application to worker classifications, focusing on the longstanding economic reality test

 under the Act. That Rule clarified the relevant classification factors to reflect contemporary

 business arrangements.

        36.     The 2021 Rule identified five factors for evaluating whether an individual is an

 employee or independent contractor. Of these, the Rule designated two “core” factors—the nature

 and degree of control over work and the individual’s opportunity for profit or loss—based on the

 determination that they are “most probative” of whether an individual is “economically dependent”

 on a business. 86 Fed. Reg. at 1246-47 (29 C.F.R. § 795.105(c)-(d)). The 2021 Rule specified that

 the other three factors—the amount of skill required for the work; the degree of permanence of the

 working relationship between the individual and the potential employer; and whether the work is

 part of an integrated unit of production—were “less probative and, in some cases, may not be

 probative at all, and thus are highly unlikely, either individually or collectively, to outweigh the

 combined probative value of the two core factors.” Id. at 1246.

        37.     The Department’s determination that “control” over work performance and the

 opportunity for profit or loss are the most probative of classification was based on a thorough

 review of caselaw. See 86 Fed. Reg. at 1196-1203. That review concluded that in cases where

 courts determined that the “control” factor and “opportunity for profit or loss” factor both aligned

 in favor of a certain classification, that classification was the one the court found to be correct. See

 id. at 1197.




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        38.     The 2021 Rule also announced that the Department would “consider investment as

 part of the opportunity [for profit or loss] factor.” Id. at 1186. Although some lower courts

 previously had considered investment as a separate factor, distinct from the opportunity for profit

 or loss, the Department determined that merging those factors best served the goal of creating a

 “clear and non-duplicative analysis for determining employee versus independent contractor

 status” and to avoid “unnecessary and duplicative analysis of the same facts under two factors.”

 Id.

        39.     The 2021 Rule also clarified that “the actual practice of the parties involved is more

 relevant than what may be contractually or theoretically possible.” Id. at 1247 (29 C.F.R.

 § 795.110). The Department explained that “unexercised powers, rights, and freedoms are not

 irrelevant,” but “are merely less relevant than powers, rights, and freedoms which are actually

 exercised,” because “[a]ffording equal relevance to reserved control and control that is actually

 exercised … would ignore the Supreme Court’s command to focus on the ‘reality’ of the work

 arrangement.” Id. at 1204 (quoting United States v. Silk, 331 U.S. 704, 713 (1947)).

        40.     Finally, the 2021 Rule included a robust economic analysis of the costs and benefits

 of its standard. See 86 Fed. Reg. at 1209-44. Overall, the Department determined that businesses

 would benefit from the “improved clarity” provided by the 2021 Rule, which would “increase the

 efficiency of the labor market, allowing businesses to be more productive and decreasing their

 litigation burden.” Id. at 1209. The Department therefore concluded that the 2021 Rule would

 “improve the welfare of both workers and businesses.” Id. And workers would benefit because of

 reduced compliance costs, decreased misclassification, increased creation of independent

 contractor jobs, and likely conversion of some existing positions from employee to independent

 contractor status. Id. at 1209–10.




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         41.    Altogether, the 2021 Rule provided a clarified and sharpened test for determining

 worker classification that was faithful to binding Supreme Court precedent. Its core-factor

 framework and articulation of the other applicable factors provided much-needed guidance to

 businesses, workers, and courts alike, and created a predictable structure for agency investigatory

 and enforcement activities.

         42.    The 2021 Rule also expressly provided that regulated parties could rely on it “in

 accordance with section 10 of the Portal-to-Portal Act, 29 U.S.C. 251–262.” 86 Fed. Reg. at 1246

 (finalized 29 C.F.R. § 795.100). Section 10 provides parties a good faith defense in FLSA

 litigation. See 29 U.S.C. § 259. The 2021 Rule thus directly affected Plaintiffs’ member

 companies (and many others) by creating a safe harbor from aspects of the confused and

 conflicting litigation under the FLSA in recent years.

         43.    In sum, the 2021 Independent Contractor Rule reflected consideration of relevant

 facts and statutory and other legal considerations as well as the Department’s reasoned judgment

 regarding applicable policy considerations. That Rule also reflected consideration of contrary facts

 and arguments and included an exhaustive description and citations to the hundreds of authorities,

 facts, data, and other analyses on which the Department relied. The Department cited numerous

 commenters with whom it agreed and those with whom it disagreed, and the Department explained

 its reasoning throughout the final 2021 Rule. See 86 Fed. Reg. at 1168-1175, 1178-1196, 1209-

 1234.

         B.     The Department’s Defective Attempt to Delay and Withdraw the 2021 Rule

         44.    On February 5, 2021, the Department issued an NPRM proposing a 60-day delay

 of the 2021 Rule’s effective date. See 86 Fed. Reg. 8326. The NPRM provided for a 19-day

 comment period on the proposed delay from March 8 to May 7, 2021.




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        45.     After an unduly abbreviated rulemaking proceeding, the Department issued a final

 rule that immediately postponed the effective date of the 2021 Rule from March 8, 2021 to May

 7, 2021. See 86 Fed. Reg. 12535 (March 4, 2021) (the “Delay Rule”).

        46.     Plaintiffs filed suit in this Court seeking an injunction against the Delay Rule.

        47.     On March 12, 2021, the Department issued an NPRM to withdraw the 2021 Rule.

 See 86 Fed. Reg. 14027 (March 12, 2021).

        48.     On May 6, 2021, the Department issued a final rule purporting to withdraw the

 2021 Rule effective immediately. See 86 Fed. Reg. 24303 (May 6, 2021) (the “Withdrawal Rule”).

        49.     Plaintiffs subsequently filed an Amended Complaint to challenge both the Delay

 and the Withdrawal Rules.

        50.     On March 14, 2022, this Court granted Plaintiffs’ motion for summary judgment

 and vacated both the Delay and the Withdrawal Rules. See Coalition for Workforce Innovation v.

 Walsh, 2022 U.S. Dist. LEXIS 68401. This Court found that the Department “failed to consider

 important aspects of the problem before it—the lack of clarity of the economic realities test and

 the need for regulatory certainty.” Id. at *46 (citing Dep’t of Homeland Sec., 140 S. Ct. at 1913).

 The Court agreed with Plaintiffs that the Department violated the APA by arbitrarily and

 capriciously withdrawing the 2021 Rule without considering potential alternatives within the ambit

 of the existing policy. See id. at *44-45. For these reasons, the Court ordered that the 2021 Rule

 took effect on March 8, 2021 and remained in effect.

        51.     Defendants appealed to the U.S. Court of Appeals for the Fifth Circuit. See

 Coalition for Workforce Innovation v. Walsh, No. 22-40316 (5th Cir.). Soon thereafter, the

 Department announced its intent to engage in a new independent contractor rulemaking. See id.,

 Docket Entry No. 19 (June 7, 2022). At the Department’s request, the Fifth Circuit ordered the




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 appeal held in abeyance pending the outcome of that rulemaking. See id., Docket Entry No. 27

 (June 10, 2022).

        52.     On October 13, 2022, the Department published an NPRM, which proposed again

 to rescind the 2021 Rule and to “modify” the independent contractor standards with a new

 “multifactor,” “totality-of-the-circumstances” analysis. See 87 Fed. Reg. 62218-19.

        53.     The Department received more than 49,000 comments (including extensive

 comments in opposition from Plaintiffs) during the comment period, and more than 6,400

 comments after the close of the comment period.

        54.     On January 10, 2024, the Department published the final 2024 Independent

 Contractor Rule in the Federal Register. 89 Fed. Reg. 1638.

        55.     The following day, Plaintiffs filed a motion with the Fifth Circuit to remand so that

 Plaintiffs could file an amended complaint challenging the new rule. Id., Docket Entry No. 59

 (January 11, 2024).

        56.     On February 19, 2024, the Fifth Circuit granted Plaintiffs’ motion, remanding the

 case to this Court “to allow the Plaintiffs to file an amended complaint.” Id., Docket Entry No. 82

 (February 19, 2024).

        C.      The 2024 Independent Contractor Rule

        57.     The 2021 Rule’s clarifying “core factor” framework adhered closely to judicial

 precedent, provided clear guidance to businesses, workers, and the courts, and created a predictable

 structure for agency investigations and enforcement actions. The 2024 Rule abandons that

 workable framework and replaces it with a totality-of-the-circumstances test that is unlawful,

 unclear, and inappropriately biased toward classifying workers as employees, in conflict with

 binding Supreme Court precedent.

        58.     The 2024 Rule inflicts heavy costs on business and workers—costs that the


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 Department ignores or minimizes. These costs include but are not limited to wage cuts, benefits

 reductions, and layoffs in response to misclassification of independent contractors as employees—

 since many employers will not be able to afford the increased costs and employee benefits

 associated with employee status. Additional costs will result from disruption of major industries

 represented by Plaintiffs; increased litigation, compliance, and recordkeeping costs; and

 operational changes necessary to comply with the rule.

        59.     The 2024 Rule also erodes predictability and a key defense that had been available

 to businesses under the 2021 Rule and the Portal-to-Portal Act. As noted above, the 2021 Rule

 provided a good faith defense under the Portal-to-Portal Act in FLSA litigation to employers who

 relied on and complied with the 2021 Rule. See supra ¶ 42. That defense has now been all but

 eliminated, as it will be close to impossible for businesses to demonstrate compliance with the

 2024 Rule because it lacks any meaningful standards.

                                             COUNT I

        (APA and FLSA—Withdrawal of the 2021 Rule Is Arbitrary and Capricious)

        60.     Plaintiffs incorporate the preceding paragraphs by reference.

        61.     The APA requires courts to set aside agency action that is “arbitrary, capricious, an

 abuse of discretion, or otherwise not in accordance with the law.” 5 U.S.C. § 706(2)(A).

        62.     Under the APA, an agency’s action is arbitrary and capricious when, inter alia, it

 fails to provide “good reasons” for changing policy positions, including rescissions of rules. FCC

 v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009); see also Motor Vehicle Mfrs. Ass’n of

 United States, Inc. v. State Farm Mut. Auto Ins. Co., 463 U.S. 29, 44 (1983); Dep’t of Homeland

 Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1910–11 (2020). The agency “must provide

 … a ‘detailed justification’ to explain why it is changing course” and may not “casually ignor[e]”




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 its previous findings and “arbitrarily chang[e] course.” California v. BLM, 286 F. Supp. 3d 1054,

 1068 (N.D. Cal. 2018). Indeed, when an agency changes existing policy, it “must” “provide a more

 detailed justification than what would suffice for a new policy … when its prior policy has

 engendered serious reliance interests.” Fox TV, 556 U.S. at 515; see also Encino Motorcars, LLC,

 v. Navarro, 579 U.S. 211, 222 (2016) (“Encino I”) (in changing existing policies, agencies must

 be cognizant of “serious reliance interests”).

        63.     An agency’s action is also arbitrary and capricious where it relies on inconsistent

 reasoning, fails to consider important aspects of the problem, offers explanations for its rule that

 run counter to the evidence, fails to consider alternatives within the ambit of the existing policy,

 relies on factors that it should not have considered, or fails to adequately consider important issues

 raised by commenters. See Motor Vehicle Mfrs. Ass’n, 463 U.S. at 41-43; Chamber of Commerce

 of the U.S.A. v. U.S. Dep’t of Labor, 885 F.3d 360, 382 (5th Cir. 2018).

        64.     A stated purpose of the 2021 Rule was to provide greater clarity, and the 2024 Rule

 claims to share that objective. 89 Fed. Reg. at 1649. But the Department’s assertion that the 2021

 Rule has created confusion is entirely unsubstantiated. On the contrary, many commenters

 persuasively explained that the 2021 Rule provided much more clarity than existed before.1

        65.     The Department states now—citing no support in the administrative record—that

 the 2021 Rule was confusing because it used “ambiguous terms and concepts.” Id. at 1654.

 Foremost, this conclusory statement ignores the numerous comments which confirmed that the

 2021 Rule was helpful in bringing much-needed clarity. Moreover, the oddity of the Department



 1
  See, e.g., Comment Letter of FSI 6–7 (Dec. 15, 2022), https://www.regulations.gov/comment/WHD-
 2022-0003-53818; Comment Letter of CWI 1, 22 (Dec. 15, 2022),
 https://www.regulations.gov/comment/WHD-2022-0003-54040; Comment Letter of ABC 2–3 (Dec. 15,
 2022), https://www.regulations.gov/comment/WHD-2022-0003-53419; Comment Letter of U.S. Chamber
 of Commerce 11 (Dec. 15, 2022), https://www.regulations.gov/comment/WHD-2022-0003-53819.


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 criticizing its own prior rule as “ambiguous” is particularly striking insofar as the 2024 Rule itself

 uses numerous terms and concepts that are far more ambiguous. For example, the 2024 Rule asserts

 that only “capital or entrepreneurial investment” by a worker is indicative of independent

 contractor status, id. at 1742, and states that control over “economic aspects of the working

 relationship”—an ambiguous new phrase that does not appear in Silk or any other Supreme Court

 case applying the economic reality test—is indicative of employee status. Id. at 1743. Those terms

 are vague and fail to provide meaningful guidance to the regulated public.

        66.     The 2024 Rule mischaracterizes the 2021 Rule’s content and purpose in identifying

 the core factors at the heart of the economic realities test described by the Supreme Court and

 many court decisions. The Department contends that the 2021 Independent Contractor Rule “set

 forth a new articulation of the economic realities test [by] elevating two factors … as ‘core.’” 89

 Reg. at 1650 (emphasis added).

        67.     Contrary to the 2024 Rule, the 2021 Rule did not create a “new” standard, but rather

 provided clear and uniform guidance to businesses and independent workers that would better

 enable them to avoid misclassifications while providing entrepreneurial opportunities for millions

 of workers. The 2024 Rule identifies no factual or legal errors in the Department’s thorough

 discussion of case law identifying the “core factors” applied by many courts within the rubric of

 the overall “economic realities” test.

        68.     Nor has the Department refuted the 2021 Rule’s analysis of all appellate courts

 applying the multifactor test that concluded the control and opportunity factors were “the most

 predictive of a worker’s classification status,” 86 Fed. Reg. at 1240. It remains true, as the 2021

 Rule observed, that in all instances where these two factors pointed to the same status under the

 FLSA, that was the classification the court found to be the correct one. See id. at 1197. Yet the




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 Department now contends without support that its own previous analysis “improperly simplified

 the courts’ analysis.” 89 Fed. Reg. at 1651. In doing so, the 2024 Rule ignores the 2021

 Independent Contractor Rule’s adoption of the analysis it set forth when it proposed the 2021 Rule

 that “[f]ocusing on control and opportunity for profit or loss is further supported by the results of

 federal courts of appeals cases weighing the economic reality factors since 1975.” See 86 Fed.

 Reg. 1197; 85 Fed. Reg. at 60619 (emphasis added).

           69.   Similarly, the Department inappropriately and inaccurately relies on an uncritical

 interpretation of what “most courts” have done to justify its abandonment of the 2021 Rule. See,

 e.g., 89 Fed. Reg. at 1652, 1665, 1669, 1676, 1707. This is an appeal to the authority of courts

 whose opinions are not binding outside of their jurisdictions (or not at all, in the case of non-

 precedential circuit opinions and district court cases); the Department cannot defer to them instead

 of offering its own reasoned analysis. See Dep’t of Homeland Security v. Regents, 140 S. Ct. at

 1910-11.

           70.   In addition, the Department’s decision to jettison the core-factor framework relies

 on inconsistent reasoning. The Department rejected commenters’ citation of cases supporting a

 core-factor framework to the extent the cases “reference[d] a joint employment analysis rather than

 an employee classification analysis.” 86 Fed. Reg. at 1650. But elsewhere the Department

 repeatedly cites cases and Department guidance concerning joint employment in support of the

 2024 Rule. See id. at 1693 n.365, 1694 n.371, 1698–99 nn.401, 408. Such “internal inconsistency

 [is] characteristic of arbitrary and unreasonable agency action.” Chamber of Commerce, 885 F.3d

 at 382.

           71.   Ultimately, the 2024 Rule impermissibly (and incorrectly) relies on the purported

 “remedial” purpose of the FLSA to justify its withdrawal of the 2021 Rule. 89 Fed. Reg. 1668




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 n.221. By doing so, it commits a clear error of law and arbitrarily and capriciously relies upon

 factors that should not be considered. See Encino Motorcars, LLC v. Navarro, 138 S. Ct. 1134,

 1142 (2018) (Encino II) (instructing that the FLSA must be given a “fair” reading, no more and

 no less). Similarly, the Department’s examination of reasonable alternatives to the wholesale

 repeal of the 2021 Rule is cursory, superficial, and only examines “options” that the Department

 concedes are legally impermissible in any event. 89 Fed. Reg. at 1663. The Department’s failure

 to meaningfully analyze viable alternatives again renders rescission of the 2021 Rule arbitrary and

 capricious in violation of the APA. See CWI, 2022 U.S. Dist. LEXIS 68401 at *44-45.

           72.   The 2024 Rule also offers explanations for withdrawing the 2021 Rule that run

 counter to the evidence before it, including but not limited to comments and studies submitted by

 Plaintiffs and other business and public policy organizations. The data set forth in these comments

 strongly supports the Department’s previous recognition of the important economic benefits of

 independent contracting. In arbitrarily dismissing the Department’s own previous findings in that

 regard, the 2024 Rule improperly treats independent contractor status as harmful to workers,

 notwithstanding the Supreme Court’s longstanding recognition that the FLSA was intended to

 accommodate contractor classifications. See Walling v. Portland Terminal Co., 330 U.S. 148, 152

 (1947).

           73.   A principal justification for the 2024 Rule’s rescission of the 2021 Rule is the

 Department’s assertion that it “will likely benefit workers as a whole,” 89 Fed. Reg. at 1659, but

 elsewhere the Department refuses to consider commenters’ explanations that the 2024 Rule will

 “infringe upon workers’ … choices” to work as independent contractors, which can for many

 workers be preferable to employment relationships. Id. at 1670-71. Similarly, the Department

 arbitrarily concludes without adequate explanation that it was “inappropriate to conclude




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 independent contractors generally earn a higher hourly wage than employees,” 89 Fed. Reg. at

 1738, even though its own analysis concluded that “[a] simple comparison of mean hourly wages

 showed that independent contractors tend to earn more per hour than employees do.” 86 Fed. Reg.

 at 24325 (noting that 2017 data shows that independent contractors earn approximately $3 more

 per hour than employees). The Department’s 2024 conclusion that “no statistically significant

 difference” exists between the pay of independent contractors and employees after “controlling for

 observable differences,” 89 Fed. Reg. at 1738, in fact supports maintaining the 2021 Rule,

 particularly where, as here, the Department did not explain its process for controlling for

 “observable differences” and did not explain what the average pay rates of independent contractors

 and employees were for different groups after it controlled for such differences. Id.

        74.     In short, the Department has failed to give substantive consideration to the

 important interests of the regulated community in obtaining clear and long overdue guidance for

 industries and jobs that in many instances did not even exist when the Department’s standards

 were last updated.

        75.     The 2024 Rule also fails to meaningfully address the chaotic litigation environment

 which the 2021 Rule analyzed in exhaustive detail and sought to clarify. In rejecting the 2021

 Rule—and replacing it with a test that is more confusing and more difficult to apply—the

 Department has “casually ignor[ed]” its previous findings and “arbitrarily chang[ed] course;” its

 actions are arbitrary and capricious in violation of the APA. See California v. BLM, 286 F. Supp.

 3d at 1064.

                                            COUNT II

    (APA and FLSA—2024 Replacement Rule Is Arbitrary and Capricious, an Abuse of
                        Discretion, and Contrary to Law)

        76.     Plaintiffs incorporate the preceding paragraphs by reference.



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        77.     The APA requires courts to set aside agency action that is “arbitrary, capricious, an

 abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C. § 706(2)(A). A

 decisionmaker “by definition abuses its discretion when it makes an error of law,” Koon v. United

 States, 518 U.S. 81, 100 (1996), and thereby violates the APA. DOL’s new test in the 2024 Rule

 for employment classification under the FLSA is arbitrary and capricious, an abuse of discretion,

 and contrary to law for numerous reasons, including the following (which overlap to a substantial

 degree with the errors underlying the Department’s related reasoning in support of its withdrawal

 of the 2021 Rule):

        78.     Although the Department acknowledges that it is legally constrained from adopting

 tests that depart from the Supreme Court’s controlling interpretation of the FLSA, the 2024 Rule

 nevertheless misinterprets binding Supreme Court precedent applying the FLSA. The Department

 must use an “economic reality” test to determine whether a worker is an employee or an

 independent contractor. Silk, 331 U.S. 704; see 89 Fed. Reg. at 1660–61. Silk announced five

 factors and emphasized control and opportunity for profit as the most important factors. But the

 2024 Rule defies Supreme Court precedent by abandoning the 2021 Rule’s core-factor framework

 and demoting the control factor from a “core” consideration to being the fourth factor in an

 unweighted list of six non-exhaustive factors. The 2024 Rule thus unlawfully departs from

 Supreme Court precedent, which is binding on the Department.

        79.     Indeed, the 2024 Rule does not deny that in the overwhelming majority of cases

 cited by the Department, the 2021 Rule’s two core factors pointed in the same direction as the

 classification ultimately reached by the circuit court. See id. at 1651 (acknowledging that “there

 are certainly many cases” in this category). In no case cited by DOL did both core factors point

 the other way. See id. at 1651–52 (purporting to identify a handful of cases in which one core




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 factor—not both—pointed the other way from the ultimate classification). While purporting to

 return to a supposedly conventional six-part inquiry in the 2024 Rule, the Department in fact relies

 on outlier cases and constructs a novel test that has never been articulated by any court.

        80.     As noted above, the Department impermissibly elevates the FLSA’s putative

 “remedial purpose” over text and precedent, claiming that the purpose requires the FLSA’s

 employment protections to be construed broadly. 89 Fed. Reg. at 1668 & n.221. The Supreme

 Court has specifically “reject[ed]” such an atextual approach as a “guidepost for interpreting the

 FLSA.” Encino II, 138 S. Ct. at 1142. Dismissing “the flawed premise that the FLSA pursues its

 remedial purpose at all costs,” the Supreme Court instructed that the statute’s provisions must be

 given “a fair reading,” not one slanted in favor of expanded coverage. Id. (quotation marks

 omitted). The Department previously recognized this in the 2021 Rule. See 86 Fed. Reg. at 1207-

 08.

        81.     Nor is the 2024 Rule’s assertion that theoretical possibilities about working

 conditions can outweigh actual practice in accordance with the FLSA. See 89 Fed. Reg. at 1719.

 Treating theoretical possibilities as equally or more probative than actual practice is inconsistent

 with the Supreme Court’s instruction that the FLSA is concerned with the “economic reality” of

 the relationship between worker and business. See Goldberg v. Whitaker House Coop., 366 U.S.

 28, 33 (1961). The Department acknowledges, but does not meaningfully address, circuit courts’

 “longstanding case law that considers the actual behavior of the parties.” 89 Fed. Reg. at 1719.

        82.     The Department transforms the factor assessing “control” over the work being done

 in a manner that conflicts with precedent correctly interpreting the FLSA. In addition to wrongly

 minimizing the importance of this “control” factor, the Department expands it to encompass

 control over the undefined “economic aspects of the working relationship.” 89 Fed. Reg. at 1698,




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 1701, 1743. The Department does not explain the source of that ambiguous new phrase, which

 does not appear in Silk or any other Supreme Court case applying the economic-reality test.

         83.     The 2024 Rule wrongly suggests that taking measures to ensure compliance with

 legal and safety obligations is a relevant form of “control.” See Loc. 777, Democratic Union Org.

 Comm. v. NLRB, 603 F.2d 862, 875 (D.C. Cir. 1978) (“Government regulations constitute

 supervision not by the employer but by the state.”). In fact, as the 2021 Rule correctly explained

 and Congress has recognized in other contexts, “these types of requirements are generally imposed

 by employers on both employees and independent contractors,” 86 Fed. Reg. at 1183, so that

 “insisting on adherence to certain rules to which the worker is already legally bound would not

 make the worker more or less likely to be an employee.” Id. at 1182. The Department purports to

 recognize this principle in the preamble to the rule, but fails to account for it in the regulatory text,

 where it adopts a narrow and vaguely-defined exception based on employer “purpose.” 89 Fed.

 Reg. at 1694, 1743.

         84.     Contrary to Supreme Court precedent, the Department deletes and replaces the

 “integrated unit of production” factor set forth in Rutherford Food Corp. v. McComb, 331 U.S.

 722 (1947). Jettisoning the “integrated unit of production” inquiry entirely, the 2024 Rule asks

 instead whether the work performed is an “integral part” (i.e., a “critical, necessary, or central”

 part) of the employer’s business. 89 Fed. Reg. at 1726, 1743. The Department’s new formulation

 is not probative of independent contractor status and skews the analysis arbitrarily toward

 employee classification, since many roles for which employers traditionally retained skilled

 independent contractors are necessary to their business.




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        85.     Also contrary to Supreme Court precedent, the 2024 Rule improperly counts

 “investment” as a separate factor from “opportunity for profit or loss.” 89 Fed. Reg. at 1639, 1742.

 Silk articulated these factors separately but analyzed them together. 331 U.S. at 719.

        86.     Without offering a reasonable explanation for doing so, the 2024 Rule assesses a

 worker’s investment relative to the company’s investment. The Department acknowledges that

 “the Supreme Court in Silk did not make such a comparison,” but attempts to justify this approach

 by asserting that “federal courts of appeals … routinely” do. 89 Fed. Reg. at 1684. But aside from

 reciting those courts’ conclusions, the Department offers no explanation why that relative inquiry

 is probative of independent contractor status. Id.

        87.     The Department unreasonably turns the “permanence of the work relationship”

 factor into a one-way ratchet in favor of employee classification. Under its new test, a permanent

 relationship definitely “weigh[s]” in favor of employee classification, but a lack thereof is “not

 necessarily indicative of independent contractor status.” 89 Fed. Reg. at 1685–86. Not only is

 this illogical—the factor should either cut both ways or neither—it has no support in law.

        88.     Again contrary to Supreme Court precedent, the 2024 Rule improperly expands the

 “skill” factor to encompass “initiative.” 89 Fed. Reg. at 1639, 1743. The Department’s discussion

 of this factor does not meaningfully address Silk or explain how the expansion of this factor is

 consistent with that precedent. See id. at 1711–15.

        89.     The Department also acknowledges, but does not respond to or rebut, commenters’

 concerns that the Department framed the skill and initiative factor so that it points to employee

 status merely because a worker does not use the skills in an “entrepreneurial” fashion. Id. at 1713.

 But it fails to offer any real guidance on that point. Such inconsistent reading and the failure to

 consider important issues raised by commenters are both hallmarks of arbitrary and capricious




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 agency action. See Motor Vehicle Mfrs. Ass’n, 463 U.S. at 63; Chamber of Commerce, 885 F.3d

 at 382.

           90.   The Department’s justifications in the preamble are in other ways internally

 inconsistent, fail to respond to important issues raised by commenters, unreasonably and

 improperly analyze the specific factors governing worker classification, and contravene Supreme

 Court precedent. For example, as noted above, the Department attempts to justify the 2024 Rule

 based on its belief that it “will likely benefit workers as a whole,” 89 Fed. Reg. at 1659, but

 elsewhere the Department refuses to consider commenters’ explanations that the 2024 Rule will

 “infringe upon workers’ … choices” to work as independent contractors, which can for many

 workers be preferable to employment relationships. Id. at 1670–71.

           91.   In the end, the Rule directly contravenes the Department’s own professed purposes

 because its adoption of a totality-of-the-circumstances test with unweighted factors undermines its

 stated goal of promoting regulatory certainty and predictability. See 89 Fed. Reg. at 1649, 1655–

 56, 1739. A regulation that “will undermine the [agency’s] own objective” is arbitrary and

 capricious. In re FCC 11-161, 753 F.3d 1015, 1143 (10th Cir. 2014). Here, the Department

 purports to act in the name of fostering regulatory clarity, but its chosen means will actually have

 the exact opposite effect, as “experience has shown that … open-ended balancing tests … can yield

 unpredictable and at times arbitrary results.” Lexmark Int’l, Inc. v. Static Control Components,

 Inc., 572 U.S. 118, 136 (2014).

           92.   The result is that 2024 Rule establishes a vague, amorphous, and shifting standard

 that lacks sufficient clarity for regulated entities to know the steps sufficient to avail themselves

 of the protections of the Portal-to-Portal Act safe harbor. See 29 U.S.C. § 259(a). In addition to




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 all the flaws enumerated above, therefore, the 2024 Rule is arbitrary and capricious, an abuse of

 discretion, and otherwise not in accordance with law.

                                            COUNT III

   (APA and RFA—2024 Rule’s Failure To Consider Costs and Benefits Is Arbitrary and
                                   Capricious)

        93.     Plaintiffs incorporate the preceding paragraphs by reference.

        94.     The APA requires courts to set aside agency action that is “arbitrary” or

 “capricious.” 5 U.S.C. § 706(2)(A).

        95.     Agency action is “arbitrary” or “capricious” when the agency fails to “consider[]

 the costs and benefits associated” with the action. Mex. Gulf Fishing Co. v. Dep’t of Commerce,

 60 F.4th 956, 973 (5th Cir. 2023); see also State Farm, 463 U.S. at 43 (“Normally, an agency rule

 would be arbitrary and capricious if the agency has … entirely failed to consider an important

 aspect of the problem.”).

        96.     The Regulatory Flexibility Act, 5 U.S.C. § 601 et seq., further requires that agencies

 issuing rules under the Administrative Procedure Act must publish a final regulatory flexibility

 analysis assessing the negative impact of the rule on small businesses and to consider less

 burdensome alternatives. This analysis also requires the agency to respond to “any comments filed

 by the Chief Counsel for Advocacy of the Small Business Administration in response to the

 proposed rule.” 5 U.S.C. § 604(a)(3).

        97.     The final regulatory analysis must “demonstrate[e] a ‘reasonable, good-faith effort’

 to carry out [the Regulatory Flexibility Act’s] mandate.” U.S. Cellular Corp. v. FCC, 254 F.3d 78,

 88 (D.C. Cir. 2001); see also Associated Fisheries of Me., Inc. v. Daley, 127 F.3d 104, 114 (1st

 Cir. 1997) (“Congress, in enacting section 604, intended to compel administrative agencies to

 explain the bases for their actions.”).



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        98.     When issuing the 2024 Rule, including both the withdrawal and replacement of

 the 2021 Rule, the Department violated both the APA and the RFA by failing to consider

 important and obvious costs of misclassification. These costs include but are not limited to:

        a.      Loss of independent contractors in the workforce;

        b.      Reduced wages and benefits as well as potential layoffs in response to the increased

                costs of classifying workers as employees;

        c.      Indirect costs including increased Social Security and Medicare taxes that

                businesses will likely pay for workers misclassified as employees (given the

                Department’s assumption that businesses will classify workers across-the-board for

                all benefits purposes, including associated taxes);

        d.      Disruption of major industries like financial services and insurance;

        e.      Increased litigation costs;

        f.      Operational changes necessary to comply with the rule, including obtaining legal

                advice, implementing reclassification, restructuring operations, and hiring or firing

                workers;

        g.      Recordkeeping costs under the FLSA, see 29 U.S.C. § 211(c); 29 C.F.R.

                § 825.500(c);

        h.      Reducing workplace safety and increasing the risks of non-compliance with a wide

                variety of laws, regulations, and best practices by incentivizing businesses not to

                oversee independent contractor safety and compliance efforts;

        i.      Reliance interests and the cost of shifting operations, see Encino I, 579 U.S. at 221;

                Fox TV, 556 U.S. at 515; and




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        j.      All costs after the first year, including the loss of hundreds of $452 million per year

                (at minimum) in benefits that the Department itself previously recognized would

                flow from the adoption of the 2021 Rule (which the Department is now repealing).

        99.     By the same token, the Department overstates the purported benefits of the 2024

 Rule. Among other things, it mistakenly assumes that independent contractors will benefit from

 the 2024 Rule through receipt of overtime pay, when in fact many independent contractors wrongly

 classified as employees under the Rule will qualify for an exemption from the FLSA’s overtime

 requirements. See 89 Fed. Reg. at 1737.

        100.    The Department also ignores that forcing businesses to reclassify independent

 contractors as employees will result in decreased opportunities for independent workers, as many

 employers will not be able to afford to pay the costly benefits associated with reclassification.

 Alternatively, those workers previously performing contract work will have to decide whether to

 accept employee roles at what will likely be lower rates of pay due to the benefit costs included in

 employer pay determination.

        101.    Finally, the Department erroneously claims that a benefit of the 2024 Rule will be

 “[i]ncreased consistency” in classifying workers, id. at 1734, when in fact, for all of the reasons

 detailed above, the 2024 Rule will only promote inconsistency and uncertainty.

        102.    The Department also did not appropriately consider and analyze the many costs and

 burdens that the 2024 Rule will impose on small businesses. In addition to violating the Regulatory

 Flexibility Act, this deficiency independently amounts to a failure to consider a significant aspect

 of the problem, rendering it arbitrary and capricious. See, e.g., Allied Loc. & Reg’l Mfrs. Caucus

 v. EPA, 215 F.3d 61, 79 (D.C. Cir. 2000) (a court “may consider” Regulatory Flexibility Act




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 requirements “in determining whether [the agency] complied with the overall requirement that an

 agency’s decision making be neither arbitrary nor capricious”).

        103.    In addition, the 2024 Rule fails to comply with the specific requirements of the

 RFA noted above, specifically 5 U.S.C. § 604(a)(3). The Small Business Administration’s Office

 of Advocacy submitted a comment letter in response to the 2022 Proposed Rule expressing grave

 concern that, despite this statutory imperative, “DOL’s Initial Regulatory Flexibility Analysis is

 deficient for this rule” for several reasons including the following:

        a.      “DOL only estimates minimal costs for small entities to read the rule. However,

                DOL has failed to estimate any costs for small businesses and independent

                contractors to reclassify workers as independent contractors, for lost work, and for

                business disruptions.”

        b.      “Small businesses commented that they found this test very confusing, and they

                could not be certain if they were classifying their independent contractors correctly.

                The only way that employers would have certainty is by classifying their workers

                as employees. This rule may be biased toward finding an employment relationship.”

        c.      “DOL has underestimated the compliance costs and administrative burdens of this

                rule for small businesses and independent contractors… Small businesses at

                Advocacy’s roundtable expressed frustration at these low compliance cost

                estimates for a rule that is almost 200 pages long. At a reading speed of 200 words

                per minute, it would take four hours to read a 50,000-word rule.”

        d.      “A representative from the National Association of Women Business Owners

                commented that many women-owned businesses are freelance workers that started




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                during the pandemic. These women value the flexibility, profitability, and the

                work/life balance that comes with an independent contractor work arrangement.”

        e.      “At Advocacy’s roundtable, small businesses were concerned that the control factor

                may conflict with requirements for employers to ensure that their workers comply

                with federal requirements for safety and other mandates… For example, a

                representative from the Associated Builders and Contractors commented that a

                general contractor must enforce compliance by subcontractors and independent

                contractors with workplace safety rules.” 2

        104.    For all of these reasons, the Small Business Administration’s Office of Advocacy

 concluded that “DOL significantly underestimates the economic impacts of this rule to small

 businesses and independent contractors,” that it “may be detrimental and disruptive to millions of

 small businesses that rely upon independent contractors as part of their workforce,” and that it also

 may cause independent contractors to “lose work,” and therefore urged DOL to reconsider the

 Proposed Rule. Id.

        105.    The 2024 Rule’s final regulatory flexibility analysis failed to respond meaningfully

 to the SBA’s concerns and was so deficient as to violate the RFA in multiple respects. In the final

 pages of the preamble, the Department belatedly acknowledged that “[c]ommenters, including the

 Small Business Administration Office of Advocacy (SBA) contended that the Department has

 severely underestimated the economic impacts of this rule on small businesses and independent

 contractors.” 89 Fed. Reg. at 1739. But it either failed to respond to those concerns or did so only

 in a way that does not adequately address the magnitude of the problems identified in comments.

 E.g., id. at 1740 (defending unrealistic estimate of 30 minutes for independent contractors (and


 2
  Comment Letter of SBA Office of Advocacy (Dec. 12, 2022), https://advocacy.sba.gov/wp-
 content/uploads/2022/12/Comment-Letter-DOL-Independent-Contractor-508c.pdf.


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 one hour for other establishments) to read and familiarize themselves with this rule, the release of

 which was hundreds of pages). This refusal to consider statutorily mandated factors meaningfully

 did not comport with the Department’s duties under the RFA, and thus violates both the RFA and

 the APA.

        106.    By failing to properly consider costs and benefits, the Rule violates the RFA and

 again violates the APA. The Rule is therefore arbitrary, capricious, and not in accordance with the

 law. It should be set aside. See 5 U.S.C. §§ 604(a)(3), 706(2)(A).

                                             COUNT IV

                                   (Declaratory Judgment Act)

        107.    Plaintiffs incorporate each of the preceding paragraphs by reference.

        108.    The Declaratory Judgment Act allows “any court of the United States to “declare

 the rights and other legal relations of any interested party seeking such declaration, whether or not

 further relief is or could be sought,” in “a case of actual controversy within [the court’s]

 jurisdiction.” 28 U.S.C. § 2201. “Further necessary or proper relief based on a declaratory

 judgment or decree may be granted, after reasonable notice and hearing, against any adverse party

 whose rights have been determined by such judgment.” Id. § 2202. The Declaratory Judgment

 Act thus gives this Court the power to grant declaratory relief under 28 U.S.C. § 2201, and to grant

 injunctive relief based on a declaratory judgment under 28 U.S.C. § 2202.

        109.    For the reasons set forth at length above, Plaintiffs are entitled to a declaration that

 the Department’s issuance of the 2024 Rule violated the APA, FLSA, and RFA.



                                   REQUESTS FOR RELIEF

        For the foregoing reasons, Plaintiffs respectfully ask that the Court:




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      1.    Declare unlawful and set aside the Department’s rescission of the 2021

            Rule and promulgation of the 2024 Independent Contractor Rule;

      2.    Declare that the Department’s rescission of the 2021 Rule and

            promulgation of the 2024 Independent Contractor Rule are arbitrary and

            capricious;

      3.    Declare that the 2021 Independent Contractor Rule has been and remains

            in effect as of March 8, 2021;

      4.    Enjoin the Department from enforcing its 2024 Independent Contractor

            Rule against Plaintiffs and their members;

      5.    Award Plaintiffs their costs and expenses, including reasonable attorneys’

            fees; and

      6.    Grant such other and further relief as the Court deems just and proper.




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      Dated: March 5, 2024        Respectfully submitted,

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                                 CERTIFICATE OF SERVICE
        I hereby certify that on March 5, 2024, the foregoing Second Amended Complaint was

 electronically filed in the above and foregoing with the Clerk of the Court, utilizing the ECF

 system, which sent notification of such filing to the following counsel for Defendants:


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